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EXHIBIT A
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EXHIBIT A
DEFINITIONS AND INSTRUCTIONS

1. The “Action” shall mean the Chapter 11 matter styled In re W.R. Grace & Co., et
al., Case No. 01-1139 (JFK) currently pending in the United States Bankruptcy Court, District of
Delaware.

2. “Dr, Lucas,” “You” or “Your” shali mean and include Dr. Philip Lucas, to whom
this request is directed, and any member of his research staff, his laboratory, any hospital(s) or
medical center(s), or other business entity with which he is affiliated, or any: employee,
representative, predecessor, agent, or attorney of any of the aforesaid, including all persons
acting or purporting to act for, on behalf of, in conjunction with, or who are subject to the
direction and control of, any of them.

3. “Debtors” or “Grace” shall mean and include any of the following entities, either
individually or collectively: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R.
Grace & Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation,
Amicon, Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc.,
Coalgrace Il, Inc., Creative Food *N Fun Company, Darex Puerto Rico, Inc., Del Taco
Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five
Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G
C Management, Inc. (f/k/a Grace Cocoa Management, Inc.), GEC Management Corporation, GN
Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities Company, Inc., Grace A-
B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc.,
Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International

Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace Offshore Company, Grace
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PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace
Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land
Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation,
Hanover Square Corporation, Homco International, Inc., Kootenai Development Company, L B
Realty, Inc., Litigation Management, Inc. (f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group,
Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson &
Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin
Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West Coal
Company, H-G Coal Company.

4. “Asbestos PI Pre-Petition Litigation Claim” shall mean and include any lawsuit
initiated prior to Debtors’ bankruptcy petition, filed April 2, 2001, for which the Claimant has:
(1) not been paid in full; and (2) not provided the Debtors with a release of his or her claim. Such
claims shall include, but are not limited to, claims for emotional harm, mental distress and loss of
consortium alleged to have been caused by exposure to asbestos or asbestos-containing products
manufactured, marketed or sold by the Debtors.

5. “Claimant” shall mean and include any and all Persons who hold or purport to hold
an Asbestos PI Pre-Petition Litigation Claim against the Debtors and any agents, attorneys,
consultants, representatives and other persons acting or purporting to act for, on behalf of, in
conjunction with, or who are subject to the direction and control of, any of them. “Claimant”
shall include, without limitation, persons listed in the text-searchable, electronic media file on the

CD-ROM/computer disk that is Exhibit B.
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6. “Claimants’ Firm” shall mean any lawyers who represent or represented a Claimant
and their predecessors, successors, affiliates, divisions and acquired law firms thereof, and any
partners, employees, agents, investigators, representatives and other persons acting or purporting
to act for, on behalf of, in conjunction with, or who are subject to the direction and control of
said entity.

7. “Asbestos-Related Disease” shall mean any bodily injury, sickness, disease or
impairment alleged to have been caused by exposure to asbestos or asbestos-containing products.

8.  “Silica-Related Disease” shall mean any bodily injury, sickness or disease, or
impairment alleged to have been caused by exposure to silica or silica-containing products.

9. “Doctor” shall mean any Medical Doctor or Doctor of Osteopathy who has been
hired, retained, or consulted or otherwise paid on behalf of you or the Claimant, or any affiliated
party to provide any of the following services: “B-Reading,” chest x-ray reading or
interpretation, performing, administering or interpreting pulmonary function test(s) (“PFT”),
performing or administering a physical examination, diagnosing or otherwise evaluating a
Claimant.

10. “Screening Company” shall mean any Person who has been hired, retained,
consulted, or otherwise paid on behalf of you or the Claimant or any affiliated party to provide
any of the following services: administer or interpret x-rays, administer or interpret PFTs,
perform B-reading, contacting or retaining Doctors to perform medical examinations and/or read
and interpret chest films, PFTs, or other medical records, or take occupational histories or
asbestos or silica exposure histories.

11. “B-reader” shall mean and include, without limitation, a Doctor of Medicine or

Doctor of Osteopathy who is or who has been certified by the National Institute of Occupational
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Safety & Health (“NIOSH”) to interpret a chest radiograph using the classification system
devised by the International Labor Organization (“ILO”).

12, “B-reading” shall mean and include, without limitation, a physician’s report of
finding from a Claimant’s chest radiograph, using the classification system devised by the ILO.

13. “Medical Services” shall mean and include any and all tests or examinations which
are used in the diagnosis of pulmonary disease including Asbestos-Related Disease, Silica-
Related Disease or any other form of pneumoconiosis, as well as the interpretation of such tests
or examinations. Such tests or examinations include, but are not limited to, “B-reading,” chest x-
ray reading or interpretation, performing, administering or interpreting PFTs, performing or
administering a physical examination, diagnosing, or otherwise evaluating a Claimant.

14. “Screening Services” shall mean and include, without limitation, any and all
screening tests or examinations which are used to measure and assess pulmonary function,
interstitial fibrosis and/or detect pulmonary disease including Asbestos-Related Disease, Silica-
Related Disease or any other form of pneumoconiosis, as well as any interpretation of such tests
or examinations, and the forwarding of such information to other Doctor(s) for review. Such
tests or examinations include, but are not limited to: the administration of x-rays, the PFTs, or
the taking of occupational or asbestos or silica exposure histories.

15. As used herein, “Document” has the full meaning ascribed to it in Rule 34 of the
Federal Rules of Civil Procedure.

16. “Relate to,” “related to,” or “relating to” shall mean, without limitation, to consist
of, refer to, evidence, describe, reflect, memorialize or otherwise be in any way legally, logically

or factually connected with the subject matter discussed.
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17. “Person” includes a natural person or any business, legal, or government entity or

association.
18. “Identify,” when used in reference to:
a. a natural person, shall mean to state the person’s full name, present or last-known

home address and telephone number, present or last-known job title, employment
address and telephone number.

b. any other person, shall mean to state the person’s full name and present or last
known-address (designating which); and

c. a document, shall mean to describe the document by date, author(s), addressee(s),
recipient(s), title and general subject matter and content.

19. Unless otherwise specified, this request for documents shall include the period
beginning January 1, 1990 through the date on which the answers in response hereto are made.

20. Consistent with the requirements and limitations of the Federal Rules of Civil
Procedure, if you object to the production of any document requested on the basis of privilege or
immunity from discovery, list in your written response to the particular request all such
documents in chronological order, setting forth as to each the following: (a) date of the
document; (b) identity of the author(s) and all recipients; (d) description; (e) type of document;
(f) subject matter; and (g) basis for assertion of privilege or immunity.

21. If you have a good faith basis to believe that any document requested has been
destroyed or lost, please so state.

22. Whenever appropriate, the singular form of a word should be interpreted in the
plural. “And” as well as “or” shall be construed either disjunctively or conjunctively so as to
acquire the broadest possible meaning in each circumstance.

23. References to the singular include the plural and vice versa, references to one
gender include the other gender, references to the past tense include the present and vice versa,

and disjunctive terms or phrases should be read to include the conjunctive and vice versa.
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REQUESTED DOCUMENTS

REQUEST NO. 1:

All documents relating to your treatment, monitoring, consulting about, and/or evaluation
of any Claimant, and to your provision of any Medical Services or Screening Services to any
Claimant, including but not limited to, correspondence, memoranda, notes, statements,
summaries, x-ray logs, reports, narratives, sign-in sheets, sign-out sheets, medical records, test
results, x-rays, pictures, diagrams, charts, photographs, invoices, billings, and receipts,
irrespective of whether those Medical Services or Screening Services resulted in a positive
diagnosis for Asbestos-Related Disease.

REQUEST NO. 2:

All documents relating to any Claimant who either was referred to you for a “second
opinion” after a prior opinion or diagnosis inconsistent with Asbestos-Related Disease, or whom
was referred, by you, a Claimants’ Firm, or a Screening Company to another Doctor or
Screening Company after you rendered an opinion or diagnosis inconsistent with Asbestos-
Related Disease, including, but not limited to, correspondence, memoranda, notes, statements,
summaries, logs, reports, narratives, sign-in sheets, sign-out sheets, medical records, test results,
X-rays, pictures, diagrams, charts, photographs, invoices, billings, and receipts, irrespective of
. whether that opinion resulted in a positive diagnosis for Asbestos-Related Disease.

REQUEST NO. 3:

All documents relating to, and identifying, the Person from whom you received payment
for rendering Medical Services or Screening Services to any Claimant.

REQUEST NO. 4:

All documents relating to any compensation provided to you, and/or any Person with
whom you are affiliated (including, without limitation, any medical facility or business with
whom you are affiliated) for rendering Medical Services or Screening Services to any Claimant.

REQUEST NO. 5:

All documents relating to any compensation provided to you, and/or any Person with
whom you are affiliated (including, without limitation, any medical facility or business with
whom you are affiliated) for rendering Medical Services or Screening Services in connection
with asbestosis or any other Asbestos-Related Disease or condition.

REQUEST NO. 6:

All documents relating to any agreement or contract (whether written or oral) between
you and/or any Person with whom you are affiliated (including, without limitation, any medical
facility or business with whom you are affiliated), and any lawyer, labor union, or Screening
Company employee, representative, agent, or affiliate, for the provision of Medical Services or
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Screening Services in connection with asbestosis or any other Asbestos-Related Disease or
condition.

REQUEST NO. 7:

All documents relating to, or identifying, the number of natural persons to whom you
have provided Medical Services or Screening Services in connection with asbestosis or any other
Asbestos-Related Disease or condition.

REQUEST NO. 8:

All documents relating to any determination by you of the cause of asbestosis or any
other Asbestos-Related Disease or condition in any Claimant, including, but not limited to,
correspondence, memoranda, notes, statements, summaries, logs reports, narratives, medical
records, test results, x-rays, pictures, diagrams, charts, and photographs.

REQUEST NO. 9:

All documents relating to any communications between and among you, any other Person
providing Medical Services or Screening Services to any Claimant, the Claimant, and/or
Claimants’ Firm with respect to the Medical Services or Screening Services provided to the
Claimant.

REQUEST NO. 10:

All documents relating to your practices and procedures for providing Medical Services
or Screening Services to any individual suspected of having Asbestos- or Silica-Related Disease,
including, but not limited to, any instructions, protocols or criteria provided to you by any
Claimants’ Firm.

REQUEST NO. 11:

All blank form documents, including but not limited to ILO or B-reading forms or other
forms on which x-ray interpretations are recorded, provided by you to any Claimants’ Firm or
Screening Company, appearing on your letterhead, or otherwise containing your signature or a
facsimile or stamp thereof.

REQUEST NO. 12:

All documents indicating the existence of a payment arrangement by which you would
receive different fees or payments for the same matter depending on the opinion retumed.

REQUEST NO. 13:

All calendars, date books, memoranda books, expense account records or appearance
diaries or documents relating to the dates and locations of the examinations, pulmonary testings
and or screenings in which you participated.
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REQUEST NO. 14:

All documents describing your record keeping practices relating to the provision of
Medical Services or Screening Services provided to any person for an Asbestos-Related Disease.

REQUEST NO. 15:

All transcripts of testimony you have given in any legal proceeding, at deposition and/or
trial, related to Asbestos-Related Disease or condition.

REQUEST NO. 16:

All documents relating to any current or preceding regulatory or disciplinary action or
proceeding against you and/or any Person with whom you are affiliated (including, without
limitation, any medical facility or business with whom you are affiliated) related to any Medical
Services or Screening Services that you have provided.

REQUEST NO. 17:

All documents relating to any current or preceding legal action or proceeding against you
and/or any Person with whom you are affiliated (including, without limitation, any medical
facility or business with whom you are affiliated) related to any Medical Services or Screening
Services that you have provided. ,

REQUEST NO. 18:

All documents relating to any current or preceding legal action or proceeding where a
court, adjudicating body, or judge has addressed, questioned, considered, made a determination
related to, or otherwise referred to the sufficiency, reliability and/or acceptability of your
examination, testing, analysis, diagnosis or treatment of any patient or other natural person.

REQUEST NO. 19:

All documents produced or provided by you in response to any request or subpoena in
connection with any grand jury proceeding.

REQUEST NO. 20:

All documents produced or provided by you in response to any request or subpoena from
the United States Congress, or any Committee or Member thereof.

REQUEST NO. 21:

All documents relating to any current or prior notice of review from any health-related
agency or regulatory body, authority, governmental agency, claims services, service provider, or
claims manager that you have received related to the sufficiency, reliability and/or acceptability
of your practices and procedures for providing Medical Services or Screening Services.
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REQUEST NO. 22:

All documents relating to, and identifying, any health-related agency or regulatory body,
authority, governmental agency, claims services, service provider, or claims manager who has
ever deemed your practices and procedures for providing Medical Services or Screening Services
to be insufficient, unreliable, and/or otherwise unacceptable.

REQUEST NO. 23:

All documents reviewed and/or used by you to prepare for the deposition noticed herewith.
